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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 LUIS FELICIANO,                                )
                                                )
                       Plaintiff,               )
                                                )   Case No. 1:20-cv-01388-MN
        v.                                      )
                                                )
 SUNWORKS, INC., CHARLES F.                     )
 CARGILE, DANIEL GROSS, JUDITH                  )
 HALL, RHONE RESCH, STANLEY                     )
 SPEER, THE PECK COMPANY                        )
 HOLDINGS, INC., and PECK MERCURY,              )
 INC.,                                          )
                                                )
                       Defendants.              )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: February 3, 2021                            RIGRODSKY LAW, P.A.

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